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            13

            14

            15
                                           UNITED STATES BANKRUPTCY COURT
            16
                             CENTRAL DISTRICT OF CALIFORNIA – SANTA BARBARA DIVISION
            17
                                                                   Lead Case No. 9:21-bk-10261 DS
            18
                   In re:                                          Jointly administered with:
            19                                                     9:21-bk-10269-DS
                   37 VENTURES, LLC,                               (Larada Sciences, Inc.)
            20
                   Debtor and Debtor in Possession.                Chapter 11 Cases
            21
                                                                   [This pleading affects the
            22     ______________________________________          37 Ventures, LLC case only]
            23     In re:                                          CREDITORS’ NOTICE OF
                                                                   JOINT MOTION AND JOINT
            24                                                     MOTION TO TERMINATE
                   LARADA SCIENCES, INC.,                          EXCLUSIVITY FOR 37
            25     Debtor and Debtor in Possession.                VENTURES
            26                                                             Hearing
                                                                   Date:June 22, 2021
            27                                                     Time:11:30 a.m. PDT
                                                                   Place: via ZoomGov
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              1                                           NOTICE OF MOTION

              2           PLEASE TAKE NOTICE that creditor Alignment Debt Holdings 1, LLC, as Agent
              3
                   for Atmedia Investor II, LLC (“Alignment”), together with creditor Knight and Bishop, L.P.
              4
                   (“KB” and with Alignment, the “Creditors”), hereby move the Court (“Motion”) to
              5
                   terminate the exclusive period of debtor 37 Ventures, LLC (“37 Ventures”) to file and
              6
                   confirm a chapter 11 plan, pursuant to section 1121(d) of title 11 of the United States
              7

              8    Bankruptcy Code (“Code”). In support of the Motion, Creditors rely on the attached

              9    Memorandum of Points & Authorities; the accompanying Declarations of Eric Goldberg
            10     (“Goldberg Declaration”) and Marc Feinstein (“Feinstein Declaration”) and the exhibits
            11
                   thereto; the arguments and representations of counsel who appear at the hearing on the
            12
                   Motion; and the record in this case.
            13
                          PLEASE TAKE FURTHER NOTICE that pursuant to the Motion, the Movants
            14

            15     seek to have the Court shorten for “cause” the exclusive period that 37 Ventures has to

            16     file and confirm a plan of reorganization, so that the Movants may file a creditors’ chapter

            17     plan for 37 Ventures.
            18            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule
            19
                   9013-1(f)(1), any opposition or other response to the Motion must be filed with the Court
            20
                   and served on counsel to Alignment; counsel to KB; counsel to 37 Ventures; counsel to
            21
                   debtor Larada Sciences, Inc.; and the Office of the United States Trustee within fourteen
            22

            23     (14) days after the date of service of this Notice of Motion and Motion.

            24            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule

            25     9013- (1)(h), failure to file and serve a timely response to the Motion may be deemed to
            26
                   be consent to the granting of the Motion.
            27

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              1                            MEMORANDUM OF POINTS & AUTHORITIES

              2           Alignment Debt Holdings 1, LLC, as Agent for Atmedia Investor II, LLC (in such
              3
                   capacity, “Alignment”), by and through its undersigned counsel, DLA Piper LLP (US),
              4
                   and Knight and Bishop, L.P. (“KB” and, with Alignment, the “Creditors”), by and through
              5
                   its undersigned counsel, O’Melveny & Myers LLP, respectfully submit this motion
              6
                   (“Motion”) to terminate the exclusive period of debtor 37 Ventures, LLC (“37 Ventures”)
              7

              8    to file a chapter 11 plan pursuant to section 1121(d) of title 11 of the United States Code

              9    (“Code”). In support of the Motion, Creditors rely on the attached Goldberg Declaration
            10     and Feinstein Declaration, and respectfully state as follows:
            11
                                                                I.
            12                                            INTRODUCTION

            13            1.     The facts and circumstances of this case warrant terminating 37 Ventures’

            14     exclusive period to file a chapter 11 plan right now, prior to expiration of the initial 120
            15
                   days provided under Code section 1121(b).
            16
                          2.     37 Ventures is no more than a holding company. Its assets consist of
            17
                   nothing more than the equity investments selected by its 100% owner, Yuri Pikover (“Mr.
            18
            19     Pikover”). 37 Ventures has no operations, no employees, no office, and no liquid assets.

            20     The only material assets listed on its schedules (“Schedules”) [Dkt. No. 50], other than

            21     a de minimis amount of cash, are minority positions in twelve start-up companies, of
            22     undisclosed values, including in the jointly administered debtor Larada Sciences, Inc.
            23
                   (“Larada”), as well as an allegedly defunct entity, Ninja Metrics, Inc.
            24
                          3.     Despite the disclosure obligations inherent in a chapter 11 case, 37
            25
                   Ventures has been far less than transparent, leaving creditors and the Court in the dark
            26
            27     as to the value of its holdings and requiring the Creditors to seek discovery under Rule

            28     2004 to obtain any information regarding the value of 37 Ventures’ assets. All of this
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               1   information should have been disclosed in the Schedules in the first place. This lack of

               2   transparency is par for the course, however, as Mr. Pikover has a history of obfuscation,
               3
                   spoliation and misrepresentation in his business dealings with the Creditors.
               4
                          4.     37 Ventures owes the two Creditors joining in this Motion more than $14
               5
                   million, which constitutes the entirety of its liabilities to non-insiders.        This bears
               6
                   repeating: Alignment and KB are the only creditors of 37 Ventures not affiliated with Mr.
               7

               8   Pikover. In recognition of their unfortunate history with Mr. Pikover, the Creditors will

               9   vote against any plan of reorganization that leaves Mr. Pikover in charge of deciding if,
             10    when and how the Creditors will be repaid. With no secured debt, and no other class of
             11
                   creditors to form an impaired consenting class, it is therefore impossible for 37 Ventures
             12
                   to propose a confirmable plan in this case, consensual or otherwise.
             13
                          5.     The Creditors have absolutely no confidence that Mr. Pikover will protect
             14

             15    their interests or fulfill his fiduciary duties to take reasonable actions to maximize their

             16    recoveries. Accordingly, the Creditors should be able to propose a plan (as discussed

             17    further below, the “Creditors’ Plan”) now that efficiently monetizes 37 Ventures’ assets
             18    and maximizes recoveries for creditors.
             19
                          6.     As the Court is aware, 37 Ventures has indicated an intent to propose a
             20
                   joint plan with Larada, through which value from 37 Ventures would be siphoned off, not
             21
                   to pay 37 Ventures’ creditors, but to prop up Larada, while forcing creditors of 37
             22

             23    Ventures to wait untold years for “natural liquidity events” to hopefully occur with respect

             24    to 37 Ventures’ investments. See Declaration of Claire Roberts (“Roberts Decl.”) [Dkt.

             25    No. 38], at ¶29 (“However, it is not the financial strength of [Larada] alone that will make
             26
                   reorganization possible in this case. [Larada] intends to file a joint plan with 37 Ventures
             27
                   which will over time pay creditors of both entities in full.”) (emphasis added).
             28

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               1         7.     Mr. Pikover is personally one of Larada’s largest creditors, with a scheduled

               2   secured claim of $417,372.74, and three scheduled unsecured claims totaling $889,500.
               3
                   See Larada Schedules [Larada Dkt. No. 40] at §§2.28, 3.159, 3.210 and 3.212. He also
               4
                   received nearly $1.4 million from the loan made by Alignment to Larada. See Knight And
               5
                   Bishop, L.P.’s Notice Of Joint Motion And Joint Motion For An Order Pursuant To Rule
               6
                   2004 of the Federal Rules of Bankruptcy Procedure (I) Authorizing Examinations of Yuri
               7

               8   Pikover and Claire Roberts, (II) Directing the Production of Documents, and (III)

               9   Authorizing the Issuance of Subpoenas (“2004 Motion”) [Dkt. No. 129] at ¶14.
             10          8.     Mr. Pikover’s personal economic interest in Larada’s success makes his
             11
                   desire to prop up Larada quite suspect, especially when he intends to do so by using
             12
                   assets of 37 Ventures, rather than his personal assets. The only purpose of such a joint
             13
                   plan would be to preserve Mr. Pikover’s control, as well as his indirect equity and direct
             14

             15    debt positions in Larada (rather than selling or finding an alternative funding source to

             16    support Larada’s reorganization) and to delay the Creditors’ recovery from 37 Ventures

             17    for an indeterminate period of time. The fact that 37 Ventures intends to propose such
             18    an objectionable and unconfirmable plan supports the immediate termination of
             19
                   exclusivity so the Creditors can promptly file and confirm the Creditors Plan.
             20
                                                            II.
             21                                     STATEMENT OF FACTS
             22          A.     Procedural Background and Jurisdiction
             23
                         9.     On March 18, 2021 (“Petition Date”), 37 Ventures commenced its
             24
                   bankruptcy case by filing a voluntary petition under chapter 11 of the Code. Larada filed
             25
                   its own chapter 11 case the following day, on March 19, 2021.
             26
             27          10.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334.

             28    This Motion constitutes a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

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               1          11.      The meeting of creditors under Code section 341 (“341 Meeting”) was held

               2   on April 22, 2021.       A copy of the unofficial transcript from the 341 Meeting (“341
               3
                   Transcript”) is attached as Exhibit A to the accompanying Goldberg Declaration.
               4
                          B.       The Joint Administration Motion
               5
                          12.      On March 19, 2021, Larada and 37 Ventures (collectively, “Debtors”) filed
               6
                   an Ex Parte Motion for Entry of an Order for Joint Administration of Cases; Declaration
               7

               8   of Claire Roberts in Support Thereof (“Joint Administration Motion”) [Dkt. No. 4].

               9          13.      In the Joint Administration Motion, the Debtors acknowledged that “37
             10    Ventures is the largest single shareholder in Larada” and that “37 Ventures has two
             11
                   primary debts – its potential guaranty on the Alignment Loan … and an arbitration award
             12
                   in favor of an entity called Knight & Bishop in the approximate amount of $3 million.” Joint
             13
                   Administration Motion, ¶7.
             14

             15           14.      In the Joint Administration Motion, the Debtors also asserted that:

             16                Larada and 37 Ventures intend to propose a joint plan which will pay
                               creditors of both entities over time. Larada expects to use its cash
             17                flows from operations to fund the joint plan. In addition, given a
                               reasonable period of time for its portfolio to naturally experience
             18                liquidity events, 37 Ventures appears to have ample assets to pay
             19                Alignment in full, and also to pay the arbitration award owed to Knight
                               & Bishop. It is the synergies between 37 Ventures and Larada that
             20                provides [sic] a feasible path to reorganization and payment in full to
                               creditors over time.
             21
                   Id. at ¶12 (emphasis added).
             22
                          C.       37 Ventures’ Business and its Inability to Generate Cash
             23

             24           15.      At the 341 Meeting, Mr. Pikover, the sole and managing member of 37

             25    Ventures, testified that 37 Ventures is merely “an investment vehicle for my investments

             26    in various startup companies,” and that 37 Ventures has no employees. See 341
             27
                   Transcript, pp. 18-19.
             28

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               1           16.     Mr. Pikover also testified at the 341 Meeting that 37 Ventures does not

               2   have a written operating agreement (Id. at 24); that the only documents that arguably
               3
                   establish his position as the managing member are the filings to register the company as
               4
                   a Delaware limited liability company, which purportedly identify him as the sole member
               5
                   (Id.); that Mr. Pikover’s personal accountant also provides tax services for 37 Ventures
               6
                   (Id.); and that the company’s financial records are maintained by Mr. Pikover personally
               7

               8   and stored on his personal Google Drive (Id. at 26). Mr. Pikover also testified that the

               9   address listed on the petition as 37 Ventures’ principal place of business -- 365 East
             10    Avenida de Los Arboles in Thousand Oaks, California -- is just a mailbox, and that the
             11
                   company does not have an office or maintain any records at that address. 1 Id. at 34.
             12
                           17.     Further, while Mr. Pikover testified that the total amount of capital invested
             13
                   in 37 Ventures was “approximately $15 million dollars” (Id. at 27), Mr. Pikover refused,
             14

             15    on the advice of counsel, to disclose any information as to the current value of 37

             16    Ventures’ investments. In response to questions on this topic, 37 Ventures’ counsel

             17    asserted that “I don’t think that information is available at the moment or, is [] something
             18    that [we] want to share publicly,” because “[w]e are not prepared for the purposes of this
             19
                   341(a) meeting to provide specific information as to valuation of 37 Ventures’ interest in
             20
                   the various, minority-owned interests.” Id. at 28.
             21
                           18.     Consistent with the Debtors’ representations in the Joint Administration
             22

             23    Motion, Mr. Pikover further testified at the 341 Meeting that he expects to fund the

             24    Debtors’ joint plan through vaguely anticipated “liquidity events.” Mr. Pikover described

             25    these as events that “occur periodically when the privately held companies either go
             26
             27
                   1 This mail drop was not merely the only hook that provided venue in this District for 37 Ventures, but also for
             28    Larada, since Larada’s venue designation relies on its status as an affiliate of 37 Ventures, which was the
                   “first to file” debtor. Larada has no independent basis for venue in this District.
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               1   public or get acquired or get liquidated.” Id. at 37. Despite the intended reliance on such

               2   liquidity events to fund a plan, Mr. Pikover testified that 37 Ventures’ investments had
               3
                   not realized any such liquidity events since at least January 1, 2020. Id. at 42.
               4
                          19.    Indeed, when questioned about 37 Ventures’ ability to generate cash in the
               5
                   past, Mr. Pikover could not even remember when 37 Ventures had ever generated
               6
                   revenue. Id. at 45. Similarly, when asked about 37 Ventures’ prospects for generating
               7

               8   cash through future liquidity events, Mr. Pikover was only able to suggest that one such

               9   event might occur by the end of 2021, although he could not state when that event might
             10    occur or how much cash it might generate. Id. at 39-40. Given this history, the existence,
             11
                   amount, and timing of any such “naturally occurring liquidity events” would be speculative
             12
                   at best and nowhere near sufficient to establish the feasibility of a chapter 11 plan.
             13
                          D.     37 Ventures’ Liabilities: Alignment and KB are the Only Real Creditors
             14

             15           19.    37 Ventures filed its Schedules on April 12, 2021. The Schedules reflect

             16    that 37 Ventures has no secured or priority creditors, and list certain taxing authorities

             17    for notice purposes only. Schedules, pp. 10-12.
             18           20.    Alignment is Larada’s senior secured lender, and Larada’s obligations to
             19
                   Alignment, which total approximately $10 million, are guaranteed by 37 Ventures.
             20
                          21.    Alignment is listed on 37 Ventures’ Schedules as an unsecured creditor
             21
                   with a claim in the amount of $9,840,673.89. Id. at 12. While listed as contingent,
             22

             23    unliquidated and disputed, Larada’s testimony at the meeting of creditors made clear that

             24    such designations only relate to calculations of attorneys’ fees and penalty interest. See

             25    341 Transcript, p. 48. The overwhelming majority of Alignment’s claims against both
             26
                   Larada and 37 Ventures is undisputed, liquidated and not contingent.
             27
                          22.    KB is a judgment creditor of 37 Ventures and is listed on the Schedules
             28
                   with a claim in the amount of $3,765,659.28. Schedules, p. 12.
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               1          23.    The Schedules list as unsecured creditors, but for “notice purposes only,”

               2   Dmitri Williams and Robert Hawk, who 37 Ventures says may have potential contribution
               3
                   claims against it with respect to the KB judgment. Id. at 12-13. Such claims, if any, likely
               4
                   would be disallowed under Code Section 502(e)(1)(B) as contingent claims for
               5
                   contribution by a joint obligor. The only other unsecured creditor listed is Mr. Pikover’s
               6
                   personal “Pikover Trust,” with a scheduled claim of $300,000. Id. This obligation was
               7

               8   incurred to pay a retainer to bankruptcy counsel and has since been acknowledged to

               9   be a capital contribution rather than an unsecured claim.
             10           24.    Accordingly, the entirety of 37 Ventures’ non-insider liabilities consists of
             11
                   more than $14 million owed to the Creditors, plus potential contribution claims from
             12
                   Messrs. Hawk or Williams if they actually paid the KB judgment.
             13
                          E.     37 Ventures’ Assets
             14

             15           25.    The Schedules show that 37 Ventures’ assets consist of $6,639.07 in a

             16    checking account, plus equity positions in 12 start-up companies: Bitvore Corp., EV

             17    Connect, Larada, Mobile Cause, Inc., Molecular Vista, Inc., NovaSignal Corp., Oticara,
             18    Inc., Savara, Inc., Trascribeme, Inc., SageMedic, Inc., CA Cardiac Solutions, Inc. and
             19
                   Ninja Metrics, Inc. (collectively, the “Investment Interests”). Schedules, pp. 5-7.
             20
                          26.    The Schedules generally identify the type and gross number of Investment
             21
                   Interests owned by 37 Ventures (such as “Preferred Shares,” “Series C Warrants” or
             22

             23    “Common Shares”), but do not provide any indication of the percentage of ownership

             24    associated with such positions, nor any indication of the value of such shares, if any.

             25           27.    When asked about the Investment Interests at the 341 Meeting, Mr. Pikover
             26
                   attempted to estimate the percentage of ownership associated with each position
             27
                   (despite not having done so in the Schedules), and suggested that they generally range
             28

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               1   from less than 1% to 10%, other than for Larada, for which 37 Ventures owns 26% on a

               2   fully diluted basis. 341 Transcript, pp. 21-23.
               3
                          28.    At the 341 Meeting, however, 37 Ventures’ counsel took the position that
               4
                   any further detail about the Investment Interests, such as their value, constituted
               5
                   “proprietary financial information” that may have been provided to Mr. Pikover, in his role
               6
                   as managing member of 37 Ventures, “pursuant to either express or implied
               7

               8   confidentiality.” Id. at p. 20. Counsel for 37 Ventures further stated that information on

               9   value was either unavailable or not “something that we want to share publicly. When the
             10    time comes for us to work on a 2004 exam and whatever production you might request
             11
                   potentially with it, we will talk to you about confidentiality issues. We are not prepared
             12
                   for the purposes of this 341(a) meeting to provide specific information as to valuation of
             13
                   37 Ventures’ interest in the various minority-owned interests.” Id. at p. 28.
             14

             15           F.     The Creditors’ History With Mr. Pikover

             16           29.    The experiences that Alignment and KB have had in dealing with Mr.

             17    Pikover demonstrate why the Creditors will not vote to accept any chapter 11 plan that
             18    leaves Mr. Pikover in control of 37 Ventures’ assets.
             19
                          Mr. Pickover’s Misconduct in Connection with KB
             20
                          30.    KB holds a judgment entered against 37 Ventures on August 25, 2020 that
             21
                   is listed in 37 Ventures’ Schedules in the amount of $3,765,659.28. That judgment,
             22

             23    which is final and unappealable, was the culmination of litigation that stretches back more

             24    than five years. KB sued 37 Ventures, Yuri Pikover and other defendants in California

             25    Superior Court in February 2016 for, among things, breach of a shareholder agreement,
             26
                   alleging that defendants wrongfully removed KB's designee (Mark Kolokotrones) from
             27
                   the Board of Directors of a company (Ninja Metrics, Inc) in which 37 Ventures and KB
             28
                   were substantial shareholders. See First Amended Complaint filed in California Superior
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               1   Court on March 23, 2016, a copy of which is attached to the Feinstein Declaration as

               2   Exhibit 1. In this litigation KB alleged that Mr. Kolokotrones had repeatedly voiced
               3
                   significant concerns about misconduct by Mr. Pikover and other members of the Board,
               4
                   including failure to comply with shareholder agreements, misrepresentations,
               5
                   irregularities in financial record keeping, excessive management compensation, failure
               6
                   to respond to document and information requests, and conflicts of interest. Id. ¶ 40. KB
               7

               8   further alleged that Mr. Pikover responded to Mr. Kolokotrones’s complaints with

               9   resistance and hostility, and that Mr. Pikover, who controlled 37 Ventures and served as
             10    its designee on the Board, manufactured false reasons to justify Mr. Kolokotrones’s
             11
                   removal, which could only be done upon a showing of cause with the consent of other
             12
                   shareholders. Id. ¶¶ 12, 41, 47-50
             13
                         31.    In the California Superior Court litigation, the defendants (including 37
             14

             15    Ventures and Mr. Pikover) were found by the discovery referee and court to have

             16    engaged in numerous violations of their discovery obligations. In particular, Mr. Pikover

             17    was found to have routinely deleted relevant emails even after becoming aware of
             18    threatened litigation regarding the dispute with KB. See Notice of Recommended Ruling
             19
                   Re: Plaintiff’s Motion to Compel Further Responses to Requests for Inspection, issued
             20
                   by discovery referee on January 17, 2017 and ordered by court on February 1, 2017, a
             21
                   copy of which is attached to the Feinstein Declaration as Exhibit 2.
             22

             23          32.    The discovery referee and court ruled in KB’s favor on eight discovery

             24    motions and awarded monetary sanctions to KB on repeated occasions. For example,

             25    after KB discovered that Mr. Pikover had been destroying relevant documents, KB moved
             26
                   for a forensic examination of his personal computers. Finding that Mr. Pikover improperly
             27
                   refused to meet and confer on the motion, the discovery referee awarded sanctions
             28
                   against Mr. Pikover in the amount of $10,000. See Exhibit 2 to the Feinstein Declaration.
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               1            33.   KB was granted summary adjudication in 2017 concerning its primary

               2   claim.    See Order Re: A. Defendants’ Motion for Summary Judgment Or, In The
               3
                   Alternative, Summary Adjudication; B. Plaintiffs’ Motion For Summary Judgment Or, In
               4
                   The Alternative, Summary Adjudication, a copy of which is attached to the Feinstein
               5
                   Declaration as Exhibit 3, at p. 14 (finding that Mr. Kolokotrones’s removal from the Board
               6
                   was without cause and procedurally defective). At the time defendants settled with KB
               7

               8   in September 2018 over its remaining claims, defendants faced a motion for issue and

               9   evidence sanctions brought by KB on the grounds that defendants disobeyed, and were
             10    continuing to disobey, court orders requiring production of documents and a privilege log;
             11
                   defendants wrongfully interfered with KB’s third-party discovery; and Mr. Pikover and a
             12
                   co-defendant were destroying relevant documents. Defendants settled before they had
             13
                   to file an opposition to the motion.
             14

             15             34.   In September 2014, in litigation arising out of Mr. Pikover’s involvement as

             16    a director of another company, Eagle View Technologies, a court in the State of

             17    Washington found that Mr. Pikover engaged in self-dealing and granted himself
             18    excessive stock options reserved for employees.          See Court’s Findings of Fact,
             19
                   Conclusions of Law and Decision in Favor of Plaintiff, a copy of which is attached to the
             20
                   Feinstein Declaration as Exhibit 4, at ¶¶ 95-112. That court also found that Mr. Pikover
             21
                   could not control his anger and threats and that he told the Eagleview CEO about how
             22

             23    he (Mr. Pikover) had threatened another CEO with a baseball bat, causing the Eagleview

             24    CEO to fear for his safety. Id.

             25             Mr. Pickover’s Misconduct in Connection with Alignment
             26
                            35.   As described above, 37 Ventures’ debt to Alignment relates to the guaranty
             27
                   provided by 37 Ventures with respect to the loan made by Alignment to Larada
             28
                   (“Guaranty,” a copy of which is attached as Exhibit B to the Goldberg Declaration). In
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               1   issuing the Guaranty, however, 37 Ventures and Mr. Pikover made material

               2   misrepresentations to Alignment regarding the litigation with KB.          Specifically, 37
               3
                   Ventures, through Mr. Pikover, certified that there was no litigation “against the Guarantor
               4
                   or against any of its assets . . . which could have a material adverse effect on the net
               5
                   worth, assets, financial condition, or prospective financial position of” 37 Ventures. See
               6
                   Guaranty at 10, §5.01(f).
               7

               8          36.    This was clearly false: when he signed the Guaranty, Mr. Pikover and 37

               9   Ventures were actively involved in the litigation that resulted in the $3.8 million judgment
             10    to KB, which was entered soon after Alignment funded the loan to Larada. Indeed, as of
             11
                   the date Mr. Pikover made the foregoing representation, KB had already been granted
             12
                   summary judgment on one of its major claims against 37 Ventures. See 2004 Motion at
             13
                   ¶4 (noting that KB obtained summary adjudication on its principal claim against 37
             14

             15    Ventures on October 6, 2017, 7 months before the Guaranty was signed).

             16           37.    Disclosures made during this bankruptcy case have been equally troubling.

             17    As detailed in the 2004 Motion, 37 Ventures’ Schedules list materially fewer shares in
             18    the portfolio companies being owned by 37 Ventures than do schedules filed with the
             19
                   Guaranty that 37 Ventures provided to Alignment in 2018. 2004 Motion, ¶6. Yet Mr.
             20
                   Pikover testified at the 341(a) Meeting that there had been no transfers or sales of the
             21
                   stock in the relevant portfolio companies in the last four years. 341 Transcript, p. 29. If
             22

             23    that is true, why are there fewer shares today than there allegedly were in 2018? If there

             24    were otherwise undisclosed transactions, what happened to the shares and the

             25    proceeds? Are either or both of the schedules listing the portfolio company shares
             26
                   misstated? If so, why? And by how much? No matter what the explanations are, the
             27
                   discrepancies raise troubling disclosure and/or fiduciary duty issues. The number of
             28
                   shares held by 37 Ventures is critical to creditor recoveries and is very easy to determine.
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               1           38.     Likewise, 37 Ventures’ Schedules inexplicably state that the value of each

               2   of the Investment Interests is “unknown.” See Schedules at §15. This just isn’t true; Mr.
               3
                   Pikover and the Debtors know what they believe to be the value of the Investment
               4
                   Interests, they simply chose not to disclose that information to the Creditors and the
               5
                   Court. See, Roberts Decl., ¶23 (“I am informed that in a forced 27 liquidation scenario,
               6
                   37 Ventures' portfolio companies would likely yield proceeds in the range of 5-10 million.
               7

               8   However, given a reasonable time period to enable some of its assets to reach natural

               9   liquidity events, its assets are likely worth in excess of $40 million.”) Mr. Pikover, Ms.
             10    Roberts and the Debtors thus seem able to articulate a value for the Investment Interests
             11
                   when it suits their purposes; they just don’t want to disclose to the Court and creditors
             12
                   what they think those values are, or how they were determined.
             13
                           39.     During the 341 Meeting, Mr. Pikover was questioned about whether any
             14

             15    formal valuations had been prepared for the Investment Interests. Mr. Pikover testified

             16    that a formal valuation has been procured for the portfolio (341 Transcript, pp.42-43), but

             17    despite repeated requests from each of the Creditors, 37 Ventures has refused to share
             18    with the Creditors either the valuation itself or the materials used to prepare that
             19
                   valuation.    So even though 37 Ventures and Mr. Pikover shared various financial
             20
                   information with two separate valuation firms to prepare the valuation, they now contend
             21
                   that some unspecified “confidentiality restrictions” prevent any of that information from
             22

             23    being shared with the Creditors or the Court. This key information thus remains in a

             24    black box controlled by Mr. Pikover, and unavailable to the Creditors or the Court.2

             25

             26
                   2  The Creditors are not suggesting that this valuation is necessarily correct or dispositive. However, as
             27
                   explained in their recently-filed 2004 Motion, the Creditors do believe that this valuation and the materials
                   used to prepare it should be disclosed to the Creditors, especially since 37 Ventures appears to be relying on
             28    it without having made any disclosures whatsoever with respect to the value of the portfolio, in the Schedules
                   of otherwise.
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               1          36.    37 Ventures and Mr. Pikover have a dubious history of misrepresenting or

               2   concealing facts from each of the Creditors. Under these circumstances, the Creditors
               3
                   will never vote to accept to a plan in which Mr. Pikover retains any controlling role.
               4
                                                                 III.
               5                                             DISCUSSION
               6          37.    Code section 1121 states that:
               7                 (b)    Except as otherwise provided in this section, only the
               8                 debtor may file a plan until after 120 days after the date of the
                                 order for relief under this chapter.
               9
                                 (c)     Any party in interest, including . . . a creditor . . . may file a
             10                  plan if and only if –
             11                         (2) the debtor has not filed a plan before 120 days after the
                                 date of the order for relief under this chapter; or
             12

             13                         (3) the debtor has not filed a plan that has been accepted,
                                 before 180 days after the date for relief under this chapter, . . . .
             14
                                 (d)    (1) . . .[O]n request of a party in interest . . . and after notice
             15                  and a hearing, the court may for cause reduce . . . the 120-day
                                 period or the 180-day period referred to in this section.
             16
                   11 U.S.C. § 1121.
             17
                          38.    The legislative history of Code section 1121(d) reflects that a debtor’s
             18
             19    exclusive right to propose and solicit a plan “should not be employed as a tactical device

             20    to put pressure on parties in interest to yield to a plan they consider unsatisfactory.” S.
             21    Rep. No. 99-764; H.R. Conf. Rep. No. 99-958, reprinted in U.S. Code Cong. & Adm.
             22
                   News 5227; see also In re All Seasons Indus., 121 B.R. 1002,1006 (Bankr. N.D. Ind.
             23
                   1990). Indeed, Congress codified section 1121(d) to place limits on a debtor’s exclusive
             24
                   right to propose a plan in recognition of creditors’ interests in the debtor’s business. In
             25

             26    re Wash.-St. Tammany Elec. Coop. Inc., 97 B.R. 852, 855 (Bankr. E.D. La. 1989 (“Sec.

             27    1121 represents a congressional acknowledgement that creditors, whose money is

             28

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               1   invested in the enterprise no less than the debtor’s, have a right to a say in the future of

               2   that enterprise . . .”).
               3
                          39.     Under section 1121(d), the court “may for cause reduce” 37 Ventures’
               4
                   exclusive period to file and solicit acceptance of a plan. 11 U.S.C. § 1121(d). Although
               5
                   the term “cause” is not defined in the Code, it is well established that “cause” is a flexible
               6
                   standard designed to balance the competing interests of debtors and their stakeholders.
               7

               8   United States Sav. Ass’n v. Timbers of Inwood Forest Assocs. (In re Timbers of Inwood

               9   Forest Assocs., Ltd.), 808 F.2d 363, 372 (5th Cir. 1987), aff’d, 484 U.S. 365 (1988) (intent
             10    of §1121 is to “limit the delay that makes creditors the hostages of Chapter 11 debtors.”).
             11
                          40.     Whether “cause” exists requires a fact-specific inquiry and is largely within
             12
                   the discretion of the bankruptcy court. See In re Henry Mayo Newhall Mem’l Hosp., 282
             13
                   B.R. 444, 452 (B.A.P. 9th Cir. 2002). The primary consideration for a court in determining
             14

             15    whether exclusivity should be terminated is whether termination “will move the case

             16    forward.” In re Adelphia Commc’ns Corp., 352 B.R. 578, 590 (Bankr. S.D.N.Y. 2006).

             17    Further, “cause” has been defined in more than one instance as the ability of the movant
             18    to provide alternative plan options for creditors of a debtor. In re Situation Mgmt. Syst.,
             19
                   252 B.R. 859, 865 (Bankr. D. Mass. 2000) (terminating exclusivity to give creditors option
             20
                   to choose between competing plans). Also, “‘[c]ause might include an unusually large
             21
                   or unusually small case, delay by the debtor, or recalcitrance among creditors.’” Texas
             22

             23    Extrusion Corp. v. Lockheed Corp. (In re Texas Extrusion Corp.), 844 F.2d 1142, 1161

             24    (5th Cir. 1988) (quoting H.R. Rep. No. 595, 95th Cong., 1st Sess. at 406 (1977), reprinted

             25    in 1978 U.S. Code Cong. & Admin. News 6362.
             26
                          41.     Although all courts do not agree on a precise formulation, most rely on the
             27
                   same set of factors. See In re Dow Corning Corp., 208 B.R. 661, 664-65 (Bankr. E.D.
             28
                   Mich. 1997). Those factors are:
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               1      (a) the size and complexity of the case;

               2      (b) the necessity of sufficient time to permit the debtor to negotiate a plan of
                          reorganization and prepare adequate information;
               3

               4      (c) the existence of good faith progress toward reorganization;

               5      (d) the fact that the debtor is paying its bills as they become due;
               6      (e) whether the debtor has demonstrated reasonable prospects for filing a viable plan;
               7
                      (f) whether the debtor has made progress in negotiations with its creditors;
               8
                      (g) the amount of time which has elapsed in the case;
               9
                      (h) whether the debtor is seeking an extension of exclusivity in order to pressure
             10           creditors to submit to the debtor’s reorganization demands; and
             11
                      (i) whether an unresolved contingency exists.
             12
                   Id.; see also In re Central Jersey Airport Servs., LLC, 282 B.R. 176 (Bankr. D.N.J. 2002).
             13

             14
                                     37 VENTURES’ EXCLUSIVITY SHOULD BE TERMINATED
             15

             16           42.    Cause exists now to terminate 37 Ventures’ exclusive period to file a plan.

             17    Any plan proposed by 37 Ventures is patently unconfirmable, because the Creditors will

             18    not support any plan in which Mr. Pikover plays a lead role. Because 37 Ventures cannot
             19    confirm a plan without the Creditors’ support, there is no reason to force the Creditors to
             20
                   wait, especially given the lack of transparency that leaves the Creditors with no
             21
                   assurance that the Investment Interests are being managed appropriately.
             22
                          43.    37 Ventures’ stated intention to use its assets to divert value to Mr.
             23

             24    Pikover’s investment in Larada, rather than to promptly repay 37 Ventures’ own creditors,

             25    provides further cause to terminate 37 Ventures’ exclusivity.         Additional cause is

             26    demonstrated by the many historical and recent disclosure concerns that leave the
             27
                   Creditors unwilling to allow Mr. Pikover to control how and when they will be repaid.
             28

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               1          44.      The primary consideration in considering whether to terminate or reduce

               2   the exclusivity period is whether doing so will move the case forward, which is exactly
               3
                   what will happen if the Creditors are granted leave to propose the Creditors’ Plan.
               4
                          45.      On the other hand, the expressly articulated intent of Mr. Pikover and 37
               5
                   Ventures is to propose a plan that, in addition to being unconfirmable, would merely delay
               6
                   and hinder the Creditors in recovering on their claims – plainly holding the Creditors’
               7

               8   hostage to an unnecessary delay.

               9          46.      If exclusivity is terminated, the Creditors’ Plan would provide for the transfer
             10    of the Investment Interests into a trust, to be overseen by the Creditors. The Creditors’
             11
                   Plan will provide for the monetization of the Investment Interests to be overseen by the
             12
                   Creditors’ themselves, rather than by Mr. Pikover, in whom they have zero confidence.
             13
                   A Creditors Plan will provide for a faster and more efficient resolution of this case than
             14

             15    37 Ventures’ proposed approach, which is to sit back and wait for years until the

             16    Investment Interests naturally monetize themselves. That strategy may work for a long-

             17    term investment portfolio with no debt and an unlimited time horizon, but does not
             18    address the claims of creditors, as required by the Code. Further, the Debtors’ stated
             19
                   intention to propose a joint plan that would use the assets of one debtor (37 Ventures) to
             20
                   subsidize the money-losing operations of another (Larada) is a blatant abandonment of
             21
                   Mr. Pikover’ s fiduciary duty to the creditors of 37 Ventures.
             22

             23           47.      To the extent applicable, the factors articulated by the Dow Corning case

             24    all support termination of exclusivity here:

             25                 a. This case is nether large nor complex. 37 Ventures only has two non-
                                   insider creditors, no operating business, and just a handful of passive
             26
                                   investments. The only question is whether the Investment Interests will be
             27                    efficiently monetized or if 37 Ventures will be permitted to string the
                                   Creditors along while hoping that natural liquidity events occur.
             28

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               1           b. No time is needed to permit the debtor to negotiate a plan and prepare
                              adequate information. No additional time is needed because 37 Ventures
               2              only has two creditors who will not support any plan that leaves Mr. Pikover
                              in control. There is no question that 37 Ventures will not be able to confirm
               3
                              a plan, consensual or otherwise.
               4
                           c. 37 Ventures can show no good faith progress toward reorganization.
               5              37 Ventures has made absolutely no progress toward developing a plan.
                              It has failed to disclose to creditors the most basic information about its
               6              assets (their value) and has continued to stonewall in the two months
                              during which these cases have been pending. The actions of Mr. Pikover
               7
                              and 37 Ventures demonstrate that they seek only to keep Mr. Pikover in
               8              control, all to the detriment of the Creditors.

               9           d. 37 Ventures has no operations and thus cannot pay administrative
                              obligations as they come due. With less than $7,000 in cash when it
             10               filed, and with zero operating cash flow, the 37 Ventures’ estate diminishes
                              every day. But for the funds advanced to 37 Ventures by Mr. Pikover
             11               shortly before the filing to pay a retainer for its counsel, 37 Ventures would
             12               not even be able to use this bankruptcy to maintain its stall tactics against
                              the Creditors.
             13
                           e. 37 Ventures has no reasonable prospects for filing a viable plan.
             14               Under Code section 1129(a)(10), a plan cannot be confirmed unless at
                              least one impaired class votes to accept it, without considering the votes of
             15               insiders. Because the Creditors represent all of the non-insider claims
                              against 37 Ventures (in both number and amount of claims), 37 Ventures
             16
                              cannot confirm a plan without their support, which 37 Ventures does not
             17               and will never have.

             18            f. 37 Ventures has not made progress in negotiating with its creditors.
                              The Creditors are the only holders of non-insider claims against 37
             19               Ventures, and 37 Ventures has not made any progress or even a good-
                              faith attempt to negotiate a plan that would be acceptable to the Creditors.
             20
                              Indeed, in the more than two months that this case has been pending, 37
             21               Ventures has barely broached with either of the Creditors the specifics of
                              a plan. All that 37 Ventures has done so far is to engage in an extended
             22               ‘stall & delay’ campaign to avoid providing its creditors with any information
                              as to the value of the Investment Interests, while averring that the Creditors
             23               will somehow be paid in full.
             24            g. Sufficient time has elapsed to terminate exclusivity. Over two months
             25               have already passed without any progress being made, other than the
                              suggestion of an objectionable and unconfirmable plan. There is no reason
             26               to make the Creditors wait longer, especially without any transparency into
                              the nature and value of the Investment Interests or whether such assets
             27               are being preserved or if action is needed to safeguard such assets.
             28

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               1                h. 37 Ventures has not requested an extension of exclusivity. The eighth
                                   factor does not apply because 37 Ventures has not requested an extension
               2                   of exclusivity.
               3                i.   No unresolved contingency exists. The only “contingency” asserted by
               4                     37 Ventures relates to the calculation of certain fees and penalties with
                                     respect to Alignment’s claim, which is not a material contingency for any
               5                     purpose. There are no other contested matters, adversary proceedings or
                                     any other “contingencies” that need to be resolved.
               6
                          48.        In addition to the foregoing, given 37 Ventures’ stated intentions, it would
               7

               8   be detrimental to the Creditors to wait for the expiration of the initial 120-day exclusivity

               9   period. The issue is not 37 Ventures’ willingness to propose a plan – indeed, it has made

             10    clear that it intends to do so. The mere filing of a plan prior to the expiration of the first
             11    120-day period, however, would only further extend the exclusivity period until 180-days
             12
                   after the Petition Date, thus forcing the Creditors to renew their request to terminate
             13
                   exclusivity. This would only cause additional delay and cause the Creditors to incur
             14
                   additional expense in opposing an objectionable and unconfirmable plan and would
             15

             16    provide no benefit.

             17           49.        As testified to at the 341 Meeting, 37 Ventures is merely a passive

             18    investment vehicle for Mr. Pikover’s personal long-term investments.          The suggested
             19
                   “plan” that 37 Ventures intends to propose shows that this – a “personal” investment
             20
                   vehicle -- is still how Mr. Pikover views 37 Ventures. Rather than seeking to promptly
             21
                   repay the Creditors, Mr. Pikover seeks to preserve the Investment Interests for his own
             22
                   long-term benefit, with the vague hope that at some point in the future some “natural
             23

             24    liquidity events” will occur that will generate enough cash to not only fund Larada’s

             25    reorganization, but also to repay the Creditors. But hope is not a plan, and there is simply
             26    no basis to believe that 37 Ventures, which according to Mr. Pikover’s testimony at the
             27
                   341 meeting has never generated any meaningful cash, will suddenly be able to produce
             28
                   enough cash to satisfy the Creditors’ claims if the Court confirms its plan.
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               1         50.    Permitting the Creditors to file the Creditors’ Plan will undeniably move this

               2   case forward.    The Creditors’ Plan will provide for a straightforward and sensible
               3
                   monetization of the Investment Interests to provide a meaningful and expeditious
               4
                   recovery to creditors.    On the other hand, permitting 37 Ventures to push forward in
               5
                   promoting its own unconfirmable plan would only cause delay and unpaid administrative
               6
                   expenses while elevating the interests of Mr. Pikover over those of the Creditors.
               7

               8

               9                                              IV.
                                                          CONCLUSION
             10
                         For all the forgoing reasons, the Creditors respectfully request that the Court (a)
             11

             12    grant the Motion and enter an order, in substantially the form attached as Exhibit C to

             13    the Goldberg Declaration, terminating 37 Ventures’ exclusive period to file a chapter 11

             14    plan; (b) grant the Creditors leave to file and seek confirmation of the Creditors’ Plan;
             15    and (c) grant such other and further relief as the Court deems appropriate.
             16

             17
                    Dated: June 1, 2021                            DLA PIPER LLP (US)
             18
                                                                   /s/ Eric Goldberg
             19                                                    Eric Goldberg
             20                                                    Attorneys for Alignment Debt Holdings 1,
                                                                   LLC, as Agent for Atmedia Investor II, LLC
             21

             22     Dated: June 1, 2021                            O’Melveny & Myers LLP
             23                                                    /s/ Steve Warren
                                                                   Steve Warren
             24
                                                                   Attorneys for Knight and Bishop, L.P.
             25

             26
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